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UNITED STATES DISTRICT COURT                                              DATE FILED: 10/06/2021
SOUTHERN DISTRICT OF NEW YORK
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 MICHAEL KANE, WILLIAM CASTRO,                                  :
 MARGARET CHU, HEATHER CLARK,                                   :
 STEPHANIE DI CAPUA, ROBERT                                     :
 GLADDING, NWAKAEGO NWAIFEJOKWU, :
 INGRID ROMERO, TRINIDAD SMITH,                                 : 21-CV-7863 (VEC)
 AMARYLLIS RUIZ-TORO,                                           :
                                              Plaintiffs,       :     ORDER
                            -against-                           :
                                                                :
 BILL DE BLASIO, IN HIS OFFICIAL                                :
 CAPACITY AS MAYOR OF THE CITY OF                               :
 NEW YORK; DAVID CHOKSHI, IN HIS                                :
 OFFICIAL CAPACITY OF HEALTH                                    :
 COMMISSIONER OF THE CITY OF NEW                                :
 YORK; NEW YORK CITY DEPARTMENT OF :
 EDUCATION,                                                     :
                                              Defendants. :
 -------------------------------------------------------------- X

VALERIE CAPRONI, United States District Judge:

       WHEREAS a hearing on Plaintiff’s application for a preliminary injunction is scheduled

for Tuesday, October 12, 2021 at 11:00 A.M., Dkt. 33;

       IT IS HEREBY ORDERED that by no later than Friday, October 8, 2021, the parties

must inform the Court whether they plan to call witnesses or introduce exhibits at the hearing. If

the parties plan to call witnesses or introduce exhibits, they must include a witness and exhibit

list in the submission.



SO ORDERED.
                                                          ________________________
Date: October 6, 2021                                        VALERIE CAPRONI
      New York, New York                                   United States District Judge
